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 EXHIBIT 10
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        Allgus.t 14, 2020 · 0

We have -eac hied t he end of week 21 o quarantine and have som e exci ing1news on t he ho rizo n!
We have b e,en given t he o pportu nity to change o ur l icens-ng ov er ron, a i,g1ht cl ulb Lk ense o a
reg u lar Bar/Restau rant Li ce nse, so 1-Ne can reope n before Phase 4 ! l!! Ou - reopen ingi date is s i I
TBA w hile we put thie fi nish ing touc he-s on our be o ved ba r o m ake sure it is as safe as poss ib le
 or eve11y o ne. Keep an eye on our w eb sit e and IG for u pd at es !. Tlh ank you alll or your pat ience and
hope to see yo u all ve,y soo n!.! #covidprepara ion #safetyfi rst
